     Case 4:21-cv-00033-ALM Document 4-12 Filed 02/09/21 Page 1 of 1 PageID #: 384


     AO 399 (01/09) Waiver of the Servtce of Summons




                                           United States District Court
                                                                            for the
                                                               Eastern District of Texas


                            Timothy Jackson
                                                                                  )
                                  Plaintiff
                                                                                  )
                                     v.                                           )   Civil Action No. 4:21-cv-00033
                          Laura Wright, et al.                                    )
                                 Defendant                                        )

                                                 WAIVER OF THE SERVICE OF SUMMONS


     To:   Jonathan F. Mitchell
                  (Name of the plaintiff's attorney or unrepresented plaintiff)


             I have received your request to waive service of a summons in this action along with a copy of the complaint,
     two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

               I. or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

           I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's
 jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

               I also understand that I. or the entity I represent, must file and serve an answer or a motion under Rule 12 within
     60 days from                   01/14/2021                 . the date when this request was sent (or 90 days if it was sent outside the
     United States). If I fail to do so. a default judgment will be entered against me or the entity I represent.
                                                                                                        Digitally signed by Matthew

     P)ate; January 21, 2021
                                                                                      Matthew Bohuslav  Bohuslav
                                                                                                        Date: 2021.02.05 14:50:43 -06'00'
                                                                                                Signature of the attorney or unrepresented party

       Frank Heidlberger                                                                                   Matthew Bohuslav
            Printed name ofparty waiving service of summons                                                       Printed name
                                                                                               Office of the Attorney General
                                                                                               P.O. Box 12548, Capitol Station

                 U                                                                             Austin, TX 78711
                                                                                                                     Address
//

                                                                                               matthew.bohuslav@oag.texas.gov
                                                                                                                 E-mail address

                                                                                                              512.475.4099
                                                                                                                Telephone number


                                               Duty to Avoid Unnecessary Expenses of Serving a Summons


          Rule 4 ol the F ederal Rules of C ivil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
 and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
 the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.


       . . . "9ood cause ' does not include a beliel that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
 no jurisdiction over tliis matter or over the defendant or the defendant's property.

         II the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
 a summons or of service.


            II you waive serv ice, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
 and tile a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.




                                                                                                                                           Reset
